811 F.2d 1509
    U.S.v.Valentine (Val), Kemp (Jean E.), Siptroth (Michael), Finch(Ken D.), Hunter (Katherine A.), Marinello (Joseph A.),Egger (John M.), Raymond (Paul D.), Ratzlaff (Steve),Wiginton (Bill R.), Kaye (Bill), Campbell (Kathryn A.),Marshall (Dan), Morrison (Terry J.)
    NO. 86-3050
    United States Court of Appeals,Ninth Circuit.
    JAN 21, 1987
    
      1
      Appeal From:  W.D.Wash.
    
    
      2
      AFFIRMED.
    
    